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11   H. ALEX and DANNIE ALVAREZ
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14                        IN THE UNITED STATES DISTRICT COURT
15                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
16

17   CALIFORNIA APARTMENT ASSOCIATION,                    Case No. 4:22-cv-02705
     STEPHEN LIN, RAKESH and TRIPTI JAIN,
18
     ALISON MITCHELL, MICHAEL HAGERTY,                    [Proposed] ORDER
19   & H. ALEX and DANNIE ALVAREZ,                        CONTINUING THE NOVEMBER
                                                          10, 2022 CASE MANAGEMENT
20
       Plaintiffs and Petitioners,
                                                          CONFERENCE
     vs.
21
     COUNTY OF ALAMEDA, BOARD OF                          (Related to Case 3:22-cv-01274-LB,
22
     SUPERVISORS OF THE COUNTY OF                         Williams v. County of Alameda, et al.)
23   ALAMEDA, and DOES 1-25,
       Defendants and Respondents.
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     [PROPOSED] ORDER CONTINUING THE                                            Case No. 4:22-cv-02705
     NOVEMBER 10, 2022 CASE MANAGEMENT CONFERENCE                                               Page 1
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1          Pursuant to Local Rules 7-12 and 16-2(e), Plaintiffs and Petitioners
2    CALIFORNIA APARTMENT ASSOCIATION, STEPHEN LIN, RAKESH and TRIPTI
3    JAIN, ALISON MITCHELL, MICHAEL HAGERTY, & H. ALEX and DANNIE
4    ALVAREZ      (collectively,   “CAA    Plaintiffs”),   Plaintiffs   and    Petitioners       JOHN
5    WILLIAMS,       ROBERT        VOGEL,      SHEANNA         ROGERS,        MICHAEL           LOEB,
6    JACQUELINE WATSON-BAKER, and HOUSING PROVIDERS OF AMERICA
7    (collectively, “Williams Plaintiffs”) in related case Williams vs. County of Alameda et
8    al. Case No. 3:22-cv-01274 (“Williams Action”), and Defendants and Respondents
9    ALAMEDA       COUNTY,         ALAMEDA       COUNTY         BOARD         OF     SUPERVISORS
10   (collectively, “County Defendants”), CITY OF OAKLAND, and OAKLAND CITY
11   COUNCIL      (collectively,   “City   Defendants”)     and   Intervenor       ALLIANCE          OF
12   CALIFORNIANS FOR COMMUNITY EMPOWERMENT ACTION (“Intervenor
13   Defendant”) submitted a Request and Stipulation to continue the parties’ November
14   10, 2022 Case Management Conference.
15         PURSUANT TO STIPULATION IT IS SO ORDERED that the parties’

16   November 10, 2022 case management conference is continued to 30 days after the

17   Court rules on the CAA Plaintiffs’ and Williams Plaintiffs’ Rule 56 Motions.

18                    4 2022
     Dated: November ___,
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20                                      Hon. Laurel Beeler
                                        United States Magistrate Judge
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     [PROPOSED] ORDER CONTINUING THE                                               Case No. 4:22-cv-02705
     NOVEMBER 10, 2022 CASE MANAGEMENT CONFERENCE                                                  Page 2
